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                            UNITED STATES DISTRICT COURT
                            SOUTHERNDISTRICT OF GEORGIA
                            AUGUSTA AND DUBLIN DIVISIONS

 IN RE:                                              CaseNo.: l:05-cr-058,  Cunningham
                                                              I : l3-cr-274,Daniels
 LEAVE OF ABSENCEREQUEST                                      | : l4-cr-069,Williamson
                                                              1:15-cr-063,  Cunningham,
                                                                                      et al.
 NANCYC. GREENWOOD                                            1:15-cv-128,  Daniels
        4,2015,and
 December
 December30,2015- January4,2016                                  3:11-cr-009,
                                                                           Cleveland


                                           ORDER

        Upon considerationof the Motion for Leaveof Absencefiled by the United Statesof America

in the above-citedcaseson behalf of AssistantUnited StatesAttomey Nancy C. Greenwoodfor

December4,2015, and December30,2015, throughJanuary4, 2016,for vacationoutsideof the

district, the             GRANTED.

        This




                                                      DISTRICTCOURTJUDGE
                                          SOUTHERNDISTRICTOF GEORGIA
